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ORIGINAL                                                                 TOliOffN COURT
                                                                            U.S.D.C    Atlari-
                        I N THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  A T L A N T A DIVISION                   JAN 2 6 2018



     U N I T E D STATES OF A M E R I C A
                                               Criminal Information
            V.
                                               No. 1:18-CR-14
     D A N T E A N T I O N E ROSSER



 THE UNITED STATES ATTORNEY CHARGES THAT:

     Beginning on an unknown date, but at least i n or about March 2016, and

 continuing until at least on or about February 23, 2017, i n the Northern District of

 Georgia and elsewhere, the Defendant, DANTE A N T I O N E ROSSER, d i d

 knowingly use a facility of interstate commerce, namely a telephone, w i t h the

 intent to injure, harass, and cause substantial emotional distress to a person i n

 another State, namely S.H i n Washington, D . C , and i n the course of and as a

 result of such use of a facility of interstate commerce, caused substantial

 emotional distress to S.H., i n violation of Title 18, United States Code, Sections

 2261A(2)(B) and 2261(b)(5).

  B Y U N G J. P A K
   Hmted States Attorney

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   Assistant United States      Attorney
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